AO 245C     Case     1:10-cr-10004-SOH
             (Rev. 09/11) Amended Judgment in a CriminalDocument
                                                         Case    131               Filed 01/16/13            Page 1(NOTE:
                                                                                                                     of 7 Identify
                                                                                                                          PageID       #: with
                                                                                                                                   Changes 376Asterisks (*))
                Sheet 1


                                           UNITED STATES DISTRICT COURT
                          WESTERN                                       District of                                  ARKANSAS
           UNITED STATES OF AMERICA                                                AMENDED JUDGMENT IN A CRIMINAL CASE
                                V.
                                                                                   Case Number:                  1:10CR10004-004
          WILLIAM C. MITCHELL                                                      USM Number:                   06789-010
Date of Original Judgment: July 8, 2011                                            Craig L. Henry
(Or Date of Last Amended Judgment)                                                 Defendant’s Attorney

Reason for Amendment:
G Correction of Sentence on Remand (18 U.S.C. 3742(f)(1) and (2))                  G Modification of Supervision Conditions (18 U.S.C. §§ 3563(c) or 3583(e))
G Reduction of Sentence for Changed Circumstances (Fed. R. Crim.                   G Modification of Imposed Term of Imprisonment for Extraordinary and
    P. 35(b))                                                                         Compelling Reasons (18 U.S.C. § 3582(c)(1))
G Correction of Sentence by Sentencing Court (Fed. R. Crim. P. 35(a))              G Modification of Imposed Term of Imprisonment for Retroactive Amendment(s)
G Correction of Sentence for Clerical Mistake (Fed. R. Crim. P. 36)                   to the Sentencing Guidelines (18 U.S.C. § 3582(c)(2))

                                                                                   X Direct Motion to District Court Pursuant X 28 U.S.C. § 2255 or
                                                                                     G 18 U.S.C. § 3559(c)(7)
                                                                                   G Modification of Restitution Order (18 U.S.C. § 3664)
THE DEFENDANT:
X pleaded guilty to count(s) One (1) of the Indictment on November 2, 2010
G pleaded nolo contendere to count(s)
    which was accepted by the court.
G was found guilty on count(s)
    after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
Title & Section                      Nature of Offense                                                             Offense Ended                  Count

21 U.S.C. § 846                      Conspiracy to Distribute 50 Grams or More of Crack Cocaine                  03/17/2010                          1




       The defendant is sentenced as provided in pages 2                       7              of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
G The defendant has been found not guilty on count(s)
X Count(s)                Four (4)               X is G are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.
                                                                                   January 16, 2013
                                                                                   Date of Imposition of Judgment

                                                                                   /S/ Harry F. Barnes
                                                                                   Signature of Judge
                                                                                   Honorable Harry F. Barnes, Senior United States District Judge
                                                                                   Name and Title of Judge
                                                                                   January 16, 2013
                                                                                   Date
AO 245C Case
         (Rev.1:10-cr-10004-SOH
              09/11) Amended Judgment inDocument     131
                                        a Criminal Case                      Filed 01/16/13      Page 2 of 7 PageID #: 377
           Sheet 2 — Imprisonment                                                                   (NOTE: Identify Changes with Asterisks (*))
                                                                                                 Judgment — Page           2   of        7
DEFENDANT:                 WILLIAM C. MITCHELL
CASE NUMBER:               1:10CR10004-004

                                                         IMPRISONMENT

        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of : *eighty-four (84) months, with credit for time already served in federal custody.




X      The court makes the following recommendations to the Bureau of Prisons:

       Placement in FCI Texarkana.
       That the defendant be a candidate for placement in the Intensive Drug Treatment Program


X      The defendant is remanded to the custody of the United States Marshal.

G      The defendant shall surrender to the United States Marshal for this district:
       G     at                                 G    a.m.      G    p.m.         on                                    .

       G     as notified by the United States Marshal.

G      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

       G     before 2 p.m. on                                            .

       G     as notified by the United States Marshal.

       G     as notified by the Probation or Pretrial Services Office.


                                                                RETURN
I have executed this judgment as follows:




       Defendant delivered on                                                         to

at                                                   with a certified copy of this judgment.




                                                                                                 UNITED STATES MARSHAL


                                                                         By
                                                                                              DEPUTY UNITED STATES MARSHAL
AO 245C Case
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                                        a Criminal Case                         Filed 01/16/13           Page 3 of 7 PageID #: 378
               Sheet 3 — Supervised Release                                                                 (NOTE: Identify Changes with Asterisks (*))
                                                                                                          Judgment—Page           3     of         7
DEFENDANT:                    WILLIAM C. MITCHELL
CASE NUMBER:                  1:10CR10004-004
                                                          SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of :              five (5) years




        The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release
from the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state, or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a
controlled substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two
periodic drug tests thereafter, as determined by the court.
G        The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
         future substance abuse. (Check, if applicable.)
X        The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
X        The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
G        The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
         student, as directed by the probation officer. (Check, if applicable.)
G        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
         If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                         STANDARD CONDITIONS OF SUPERVISION
    1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
    2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
    3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
    4)    the defendant shall support his or her dependents and meet other family responsibilities;
    5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other acceptable
          reasons;
    6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
    7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
          substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
    8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
    9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony,
          unless granted permission to do so by the probation officer;
 10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view of the probation officer;
 11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission
          of the court; and
 13)      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal
          record, personal history, or characteristics and shall permit the probation officer to make such notifications and confirm the defendant’s
          compliance with such notification requirement.
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         (Rev. 09/11)                          Document
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         Sheet 4C — Probation                                                        (NOTE: Identify Changes with Asterisks (*))
                                                                                   Judgment—Page        4      of        7
DEFENDANT:             WILLIAM C. MITCHELL
CASE NUMBER:           1:10CR10004-004

                                  SPECIAL CONDITIONS OF SUPERVISION




1.      The defendant shall submit his person, residence, and vehicle to a search conducted by the United States
        Probation Office at a reasonable time and in a reasonable manner based upon reasonable suspicion of
        contraband.
2.      The defendant shall maintain gainful employment.
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         (Rev. 09/11)                          Document
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         Sheet 5 — Criminal Monetary Penalties                                                                (NOTE: Identify Changes with Asterisks (*))
                                                                                                     Judgment — Page         5        of        7
DEFENDANT:                      WILLIAM C. MITCHELL
CASE NUMBER:                    1:10CR10004-004
                                           CRIMINAL MONETARY PENALTIES
    The defendant must pay the following total criminal monetary penalties under the schedule of payments on Sheet 6.
                     Assessment                                        Fine                                    Restitution
TOTALS           $ 100.00 * Pd in full                            $    -0-                                $       -0-


G The determination of restitution is deferred                    . An Amended Judgment in a Criminal Case (AO 245C) will be
    entered after such determination.

G The defendant shall make restitution (including community restitution) to the following payees in the amount listed below.
    If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
    otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(I), all nonfederal
    victims must be paid before the United States is paid.

Name of Payee                              Total Loss*                           Restitution Ordered                      Priority or Percentage




TOTALS                             $                                         $


G    Restitution amount ordered pursuant to plea

G    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

G    The court determined that the defendant does not have the ability to pay interest, and it is ordered that:

     G the interest requirement is waived             G fine          G restitution.
     G the interest requirement for           G fine         G restitution is modified as follows:


* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed
on or after September 13, 1994, but before April 23, 1996.
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         (Rev. 09/11)                          Document
                      Amended Judgment in a Criminal Case 131                  Filed 01/16/13           Page 6 of 7 PageID #: 381
         Sheet 6 — Schedule of Payments                                                                        (NOTE: Identify Changes with Asterisks (*))
                                                                                                        Judgment — Page            6     of         7
DEFENDANT:                  WILLIAM C. MITCHELL
CASE NUMBER:                1:10CR10004-004

                                                     SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties shall be due as follows:

A    X Lump sum payment of $ 100.00 *                          due immediately, balance due

           G not later than                                        , or
           X in accordance             G C,       G D,       G     E, or     X F below; or
B    G Payment to begin immediately (may be combined                       G C,          G D, or      G F below); or
C    G Payment in equal                        (e.g., weekly, monthly, quarterly) installments of                     over a period of
                          (e.g., months or years), to commence              (e.g., 30 or 60 days) after the date of this judgment; or

D    G Payment in equal                     (e.g., weekly, monthly, quarterly) installments of                  over a period of
                       (e.g., months or years), to commence              (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E    G Payment during the term of supervised release will commence                       (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time;

F    X Special instructions regarding the payment of criminal monetary penalties:
           If not paid immediately, any unpaid financial penalty imposed shall be paid during the period of incarceration at a rate of not
           less than $25.00 quarterly, or 10% of the defendant’s quarterly earnings, whichever is greater. After incarceration, any
           unpaid financial penalty shall become a special condition of supervised release and may be paid in monthly installments of not
           less than 10% of the defendant’s net monthly household income, but in no case less than $25.00 per month, with the entire
           balance to be paid in full one month prior to the termination of supervised release.


Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is
due during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau
of Prisons’ Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.


         * $100 S.A. has been paid in full on 5/18/2012 per Opera with the U.S. Clerk’s Office.

G Joint and Several
     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Joint and Several Amount, and
     corresponding payee, if appropriate.




G The defendant shall pay the cost of prosecution.
G The defendant shall pay the following court cost(s):
G The defendant shall forfeit the defendant’s interest in the following property to the United States:



Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
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         (Rev. 09/11)                          Document
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         Sheet 7 — Denial of Federal Benefits                                                                  (NOTE: Identify Changes with Asterisks (*))
                                                                                                           Judgment — Page        7      of         7
DEFENDANT:                  WILLIAM C. MITCHELL
CASE NUMBER:                1:10CR10004-004
                                                DENIAL OF FEDERAL BENEFITS
                                      (For Offenses Committed On or After November 18, 1988)

FOR DRUG TRAFFICKERS, PURSUANT TO 21 U.S.C. § 862(a)

         IT IS ORDERED that the defendant shall be:

G ineligible for all federal benefits for a                **removed                              .

G ineligible for the following federal benefits for a period of                                                    .
     (specify benefit(s))




                                                                         OR
G Having determined that this is the defendant’s third or subsequent conviction for distribution of controlled substances, IT IS
     ORDERED that the defendant shall be permanently ineligible for all federal benefits.

FOR DRUG POSSESSORS PURSUANT, TO 21 U.S.C. § 862(b)

     IT IS ORDERED that the defendant shall:

G be ineligible for all federal benefits for a period of                                          .


G be ineligible for the following federal benefits for a period of                                                 .

     (specify benefit(s))




     G     successfully complete a drug testing and treatment program.

     G     perform community service, as specified in the probation and supervised release portion of this judgment.

     G     Having determined that this is the defendant’s second or subsequent conviction for possession of a controlled substance, IT
           IS FURTHER ORDERED that the defendant shall complete any drug treatment program and community service specified
           in this judgment as a requirement for the reinstatement of eligibility for federal benefits.




                    Pursuant to 21 U.S.C. § 862(d), this denial of federal benefits does not include any retirement, welfare, Social Security, health,
disability, veterans benefit, public housing, or other similar benefit, or any other benefit for which payments or services are required for eligibility.
The clerk of court is responsible for sending a copy of this page and the first page of this judgment to:
                   U.S. Department of Justice, Office of Justice Programs, Washington, DC 20531
